                                             Case 3:14-cv-05180-EMC Document 138 Filed 09/23/16 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        PAUL SOMERS,
                                   7                                                          Case No. 14-cv-05180-EMC (KAW)
                                                        Plaintiff,
                                   8
                                                  v.                                          ORDER SETTING PLAINTIFF'S
                                   9                                                          DEPOSITION FOR OCTOBER 26, 2016
                                        DIGITAL REALTY TRUST INC, et al.,
                                  10                                                          Re: Dkt. Nos. 135, 136, 137
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            On August 11, 2016, Defendants Digital Realty Trust and Ellen Jacobs filed a motion to

                                  14   compel Plaintiff Paul Somers's deposition. (Dkt. No. 121.) Because Defendants' motion was not

                                  15   in compliance with this Court's General Standing Order, the Court terminated Defendants' motion.

                                  16   (Dkt. No. 132.) The Court, however, found that Plaintiff had failed to comply with its July 8,

                                  17   2016 Order requiring Plaintiff to make himself available for deposition within thirty days of the

                                  18   Order. (Id.) The Court thus ordered Plaintiff to attend his deposition by September 26, 2016, the

                                  19   date chosen by Defendants in their motion to compel Plaintiff's deposition. (See Dkt. No. 121 at

                                  20   1.)

                                  21            On September 22, 2016, Plaintiff filed a motion to extend the deadline for his deposition to

                                  22   October 26, 2016, as Defendants were no longer available to conduct the deposition on September

                                  23   26, 2016. (Dkt. No. 135.) Defendants then filed their portion of a joint discovery letter, stating

                                  24   that they were not available for September 26, 2016, and had been attempting to schedule

                                  25   Plaintiff's deposition in October. (Dkt. No. 136.)

                                  26            Based on the Court's review of the parties' filings, both parties agree to having Plaintiff's

                                  27   deposition on October 26, 2016. (See Dkt. No. 135 ¶ 13 ("Plaintiff has also agreed to a deposition

                                  28   on October 26, 2016"); Dkt. No. 136 at 3 (Defendants repeatedly requesting Plaintiff's availability
                                         Case 3:14-cv-05180-EMC Document 138 Filed 09/23/16 Page 2 of 2




                                   1   for a deposition on "October 11 or 26, 2016")). The Court therefore ORDERS Plaintiff's

                                   2   deposition to take place on October 26, 2016.

                                   3          In the future, the Court believes it would be more efficient for the parties to simply

                                   4   stipulate and submit a proposed order, rather than requiring Court intervention.

                                   5          IT IS SO ORDERED.

                                   6   Dated: September 23, 2016
                                                                                            __________________________________
                                   7                                                        KANDIS A. WESTMORE
                                   8                                                        United States Magistrate Judge

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        2
